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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LEIGH J. BECHTLE                                                  CIVIL ACTION
           v.                                                      NO. 20-5803
 COUNTY OF DELAWARE


                                                           ORDER

        AND NOW, TO WIT: This 10th day of May, 2022, it having been reported that the
issues between the parties in the above action has been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it
is

       ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement
of counsel, without costs.


                                                  KATE BARKMAN, Clerk of Court



                                                  BY:       /s/ Amanda Frazier
                                                            Amanda Frazier
                                                            Deputy Clerk



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